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              IN THE CIRCUIT COURT FOR DAVIDSON COUNTY, TENN s
                               20 tH JUDICIAL DISTRICT
                                     AT NASHVILLE
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SMITHWAY MOTOR XPRESS, INC.,
WESTERN EXPRESS, INC., and
NATIONAL CASUALTY COMPANY

        Plaintiffs,

V.                                                          CASE NO.:     /37
JAMES A. SCOTT & SON, INC., individually,                   JURY DEMAND
and d/b/a SCOTT TRANSPORTATION
SERVICES and d/b/a SCOTT
TRANSPORTATION and d/b/a SCOTT
INSURANCE; and REGIONS INSURANCE,
INC., individually, and d/b/a INSURISK
EXCESS AND SURPLUS LINES,

        Defendants.

                                 PLAINTIFFS' COMPLAINT

        Plaintiffs SMITHWAY MOTOR XPRESS, INC. ("SMITHWAY"), WESTERN

EXPRESS, INC. ("WESTERN"), and NATIONAL CASUALTY COMPANY ("NCC") hereby

file this Complaint against Defendants JAMES A. SCOTT & SON, INC., individually, and d/b/a

SCOTT TRANSPORTATION SERVICES and d/b/a SCOTT TRANSPORTATION and d/b/a

SCOTT INSURANCE ("SCOTT"), and REGIONS INSURANCE, INC., individually, and dlb/a

INSURISK EXCESS AND SURPLUS LINES ("REGIONS"), and allege as follows:

                                        THE PARTIES

         I.      SMITHWAY is an Iowa corporation with its home office in Tennessee.

        2.      WESTERN is a Tennessee corporation with its home office in Tennessee.

        3.      NCC is an Arizona company that issues insurance policies in Tennessee.

        4.      SCOTT is a Virginia corporation doing business in Tennessee.


                                                                                              EXHIBIT

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       5.      REGIONS is an Arkansas corporation doing business in Tennessee.

                                JURISDICTION AND VENUE

       6.      Jurisdiction and venue are proper in Tennessee because the causes of action

alleged in this Complaint accrued in Tennessee, and the defendants maintain an office, transact

business, have an agent, or are found in Tennessee.

       7.      Further, venue is proper in Davidson County, Tennessee pursuant to Section 20-4-

104(3)(A) of the Tennessee Code of Civil Procedure because SCOTT and REGIONS have

registered agents in Davidson County, Tennessee.

                                 GENERAL ALLEGATIONS

       8.      On or before July 1, 2008, SMITHWAY, WESTERN, and NCC contracted with

SCOTT by and through its employees, agents, and/or servants to procure insurance providing

coverage and reinsurance coverage to SMITHWAY, WESTERN, and NCC.

       9.      On or before July 1, 2008, SMITHWAY, WESTERN, and NCC contracted with

REGIONS by and through its employees, agents, and/or servants to procure insurance providing

coverage and reinsurance coverage to SMITHWAY, WESTERN, and NCC.

       10.     On or before July 1, 2008, SCOTT, by and through its employees, agents, and/or

servants, acted as an agent of REGIONS in the procurement of an insurance policy providing

coverage to SMITHWAY, WESTERN, and NCC.

       11.     Alternatively, on or before July 1, 2008, REGIONS, by and through its

employees, agents, and/or servants, acted as an agent of SCOTT in the procurement of an

insurance policy providing coverage to SMITHWAY, WESTERN, and NCC.




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        12.    On, before, and subsequent to July 1, 2008, SCOTT and REGIONS, by and

through their employees, agents, and/or servants, acted as insurance brokers for the benefit of

SMITHWAY, WESTERN, and NCC.

        13.    On or before July 1, 2008, SCOTT and REGIONS, by and through their

employees, agents, and/or servants, sought to procure insurance policies covering SMITHWAY

and WESTERN from the Underwriting Members of Lloyd's ("Underwriters").

        14.    On or before July 1, 2008, SCOTT and REGIONS, by and through their

employees, agents, and/or servants, were informed that Underwriters would provide reinsurance

agreements if fronting policies were issued by another insurer.

        15,    On or before July 1, 2008, SCOTT and REGIONS, by and through their

employees, agents, and/or servants, sought to procure fronting insurance policies from NCC and

procured policy number CT00120877 with effective dates of July 1, 2008 through July 1, 2009

for the named insured SMITHWAY and policy number CT00115990 with effective dates of

April 1, 2008 through April 1, 2009 for the named. insured WESTERN (collectively, "the NCC

policies").

        16.    On or before July 1, 2008, SCOTT and REGIONS, by and through employees,

agents, and/or servants, procured reinsurance agreements from Underwriters with number

507/N08QA08560 and effective dates of July 1, 2008 through July 1, 2009 for the reinsured

NCC and named insured SMITHWAY and number N08QA03620 and effective dates of April 1,

2008 through April 1, 2009 for the reinsured NCC and named insured WESTERN (collectively,

"the Underwriters policies").

        17.    On, before, or subsequent to July 1, 2008, the NCC policies were delivered to

SCOTT and REGIONS, their employees, agents, or servants.




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        18.     On, before, or subsequent to July 1, 2008, the Underwriters policies were

delivered to SCOTT and REGIONS, their employees, agents, or servants.

        19.     At all relevant times, the NCC policies and Underwriters policies contained

material inconsistencies, contradictions, and defects,. such that the NCC policies did not act as a

true fronting policy for the Underwriters policies.

        20.     At all relevant times, the NCC policies and Underwriters policies failed to provide

true fronting coverage and true reinsurance coverage required and contracted for by

SMITHWAY and WESTERN.

        21.     At all relevant times, the Underwriters policies failed to provide the reinsurance

coverage required and contracted for by NCC.

        22.     SCOTT and REGIONS failed to timely deliver the NCC policies and

Underwriters policies to SMITHWAY and WESTERN before, on, or after July 1, 2008.

        23.     SCOTT and REGIONS failed to timely deliver the Underwriters policies to NCC

before, on, or after July 1, 2008.

        24.     SCOTT and REGIONS failed to timely deliver the NCC policies to Underwriters

before, on, or after July 1., 2008.

        25.     Numerous claims against SMITHWAY and WESTERN have arisen within the

•periods of coverage of the NCC policies and Underwriters policies.

        26.     As a result of the inconsistencies, contradictions, and defects between the NCC

policies and the. Underwriters policies, the NCC policies have failed to be solely fronting

policies, and the Underwriters policies have failed to be true reinsurance policies for the benefit'

of SMITHWAY. WESTERN, and NCC.




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            27.    As a result of the inconsistencies ; contradictions, and defects between the NCC

    policies and the Underwriters policies, SMITHWAY, WESTERN, and NCC have paid damages

    that would not have been owed had the proper policies been procured by SCOTT and REGIONS.

            28.    Claims against SMITHWAY and WESTERN arising within the period of

    coverage for the NCC policies and the Underwriters policies are still pending, so SMITHWAY,

    WESTERN, and NCC may be exposed to additional damages they would not have owed but for

    the inconsistencies, contradictions, and defects between the NCC policies and the Underwriters

    policies.

            29.    SMITHWAY, WESTERN, and NCC's first notice of the inconsistencies,

    contradictions, and defects between the policies and of the claims asserted herein came when

    NCC received a reservation of rights letter from Underwriters for one of the claims against

    SMITHWAY or WESTERN,

        COUNT I — BREACH OF CONTRACT — FAILURE TO PROCURE INSURANCE
                             (SCOTT AND REGIONS)

            30.    SMITHWAY, WESTERN, and NCC incorporate the allegations of Paragraphs 1-

    29 as the allegations for Paragraph 30 of Count I as though fully restated and set forth herein.

            31.    SMITHWAY contracted with SCOTT, by and through its employees, agents,

    and/or servants, for the procurement of certain fronting coverage.

            32.    SCOTT, by and through its employees, agents, and/or servants, breached said

    contract with SMITHWAY and failed to procure the requisite fronting coverage.

            33.    SMITHWAY contracted with SCOTT, by and through its employees, agents,

    and/or servants, for the procurement of certain reinsurance coverage.

            34.    SCOTT, by and through its employees, agents, and/or servants, breached said

    contract with SMITHWAY and failed to procure the requisite reinsurance coverage.




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       35.     SMITHWAY contracted with REGIONS, by and through its employee, agents,

and/or servants, for the procurement of certain fronting coverage.

       36.     REGIONS, by and through its employees, agents, and/or servants, breached said

contract with SMITHWAY and failed to procure the requisite fronting coverage.

       37.     SMITHWAY contracted with REGIONS, by and through its employees, agents,

and/or-servants, for the procurement of certain. reinsurance coverage.

       38.     REGIONS, by and through its employees, agents, and/or servants, breached said

contract with SMITHWAY and failed to procure the requisite reinsurance coverage.

       39.     WESTERN contracted with SCOTT, by and through its employees, agents, and/or

servants, for the procurement of certain fronting coverage.

       40.     SCOTT, by and through its employees, agents, and/or servants, breached said

contract with WESTERN and failed to procure the requisite fronting coverage.

       41,     WESTERN contracted with SCOTT, by and through its employees, agents, and/or

servants, for the procurement of certain reinsurance coverage.

       42.     SCOTT, by and through its employees, agents, and/or servants, breached said

contract with WESTERN and failed to procure the requisite reinsurance coverage.

       43.     WESTERN contracted with REGIONS, by and through. its employees, agents,

and/or servants, for the procurement of certain fronting coverage.

        44.    REGIONS,. by and through its employees, agents, and/or servants, breached said

contract with WESTERN and failed to procure the, requisite fronting coverage.

        45.    WESTERN contracted with REGIONS, by and through its employees, agents,

and/or servants, for the procurement of certain reinsurance coverage.




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       46.     REGIONS, by and through its employees, agents, and/or servants, breached said

contract with WESTERN and failed to procure the requisite reinsurance coverage.

       47.     NCC contracted with SCOTT, by and through its employees, agents, and/or

servants, for the procurement of certain reinsurance coverage.

       48.     SCOTT, by and through its employees, agents, and/or servants, breached said

contract with NCC and failed to procure the requisite reinsurance coverage.

       49.     NCC contracted with REGIONS, by and through its employees, agents, and/or

servants, for the procurement of certain reinsurance coverage.

       50.     REGIONS, by and through its employees, agents, and/or servants, breached said

contract with NCC and failed to procure the requisite reinsurance coverage.

       51.     SMITHWAY has sustained damages and losses as a result of SCOTT's breaches

of contract and is entitled to recover damages for the same.

       52.     SMITHWAY has sustained damages and losses as a result of REGIONS'

breaches of contract and is entitled to recover damages for the same.

       53.     WESTERN has sustained damages and losses as a result of SCOTT's breaches of

contract and is entitled to recover damages for the same.

       54.     WESTERN has sustained damages and losses as a result of REGIONS' breaches

of contract and is entitled to recover damages for the same.

       55.     NCC has sustained damages and losses as a result of SCOTT's breaches of

contract and is entitled to recover damages for the same.

       56.     NCC has sustained damages and losses as a result of REGIONS' breaches of

contract and is entitled to recover damages for the same.




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                  WHEREFORE, plaintiffs SMITHWAY MOTOR XPRESS, INC., WESTERN

j EXPRESS, INC., and NATIONAL CASUALTY COMPANY hereby pray and request that this

          Honorable Court enter Final Judgment against Defendants JAMES A. SCOTT & SON, INC.,

          individually, and d/b/a SCOTT TRANSPORTATION SERVICES and d/b/a SCOTT

          TRANSPORTATION and d/b/a SCOTT INSURANCE, and REGIONS INSURANCE, INC.,

          individually, and d/b/a INSURISK EXCESS AND SURPLUS LINES, and in favor of plaintiffs,

          as follows:

                  a.      Finding that a contract existed and was breached by defendants;

                  b.      Finding that plaintiffs have been damaged by defendants' breach and awarding
                          damages in excess of one million dollars ($1,000,000.00) to plaintiffs; and

                  c.      Granting such further and additional relief as. this Court deems just. under the
                          circumstances, including, but not limited to, any other damages recoverable by
                          law.

                   COUNT II — BREACH OF CONTRACT / THIRD PARTY BENEFICIARY
                                      (SCOTT AND REGIONS)

                  57.     SMITHWAY, WESTERN, and NCC incorporate the allegations of Paragraphs 1-

           56 as the allegations for Paragraph 57 of Count II as though fully restated and set forth herein.

                  58.     Pleading in the alternative and without waiving any other allegations,

           SMITHWAY was an intended third-party beneficiary on a contract for the procurement of

           reinsurance coverage between NCC and SCOTT.

                  59.     Pleading in the alternative and without waiving any other allegations,

           SMITHWAY was an intended third-party beneficiary on a contract for the procurement of

           reinsurance coverage between NCC and REGIONS.




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       60.    Pleading in the alternative and without waiving any other allegations,

SMITHWAY was an intended third-party beneficiary on a contract for the procurement of

fronting coverage between WESTERN and SCOTT.

       61.    Pleading in the alternative and without waiving any other allegations,

SMITHWAY was an intended third-party beneficiary on a contract for the procurement of

fronting coverage between WESTERN and REGIONS.

       62.    Pleading in the alternative and without waiving any other allegations,

SMITHWAY was an intended third-party beneficiary on a contract for the procurement of

reinsurance coverage between WESTERN and SCOTT.

       63.    Pleading in the alternative and without waiving any other allegations,

SMITHWAY was an intended third-party beneficiary on a contract for the procurement of

reinsurance coverage between WESTERN and REGIONS.

       64.    Pleading in the alternative and without waiving any other allegations, WESTERN

was an intended third-party beneficiary on a contract for the procurement of reinsurance

coverage between NCC and SCOTT.

       65.    Pleading in the alternative and without waiving any other allegations, WESTERN

was an intended third-party beneficiary on a contract for the procurement of reinsurance

coverage between NCC and REGIONS.

       66.    Pleading in the alternative and without waiving any other allegations, WESTERN

was an intended third-party beneficiary on a contract for the procurement of fronting coverage

between SMITHWAY and SCOTT.




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       67.    Pleading in the alternative and without waiving any other allegations. WESTERN

was an intended third-party beneficiary on a contract for the procurement of fronting coverage

between SMITHWAY and REGIONS.

       68.    Pleading in the alternative and without waiving any other allegations, WESTERN

was an intended third-party beneficiary on a contract for the procurement of reinsurance

coverage between SMITHWAY and SCOTT.

       69.    Pleading in the alternative and without waiving any other allegations, WESTERN

was an intended third-party beneficiary on a contract for the procurement of reinsurance

coverage between SMITHWAY and REGIONS.

       70.    Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of fronting coverage

between SMITHWAY and SCOTT.

       71.    Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of fronting coverage

between SMITHWAY and REGIONS.

       72.    Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of reinsurance coverage

between SMITHWAY and SCOTT.

       73.    Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of reinsurance coverage

between SMITHWAY and REGIONS.




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       74.     Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of fronting coverage

between WESTERN and SCOTT.

       75.     Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of fronting coverage

between WESTERN and REGIONS.

       76.     Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of reinsurance coverage

between WESTERN and SCOTT.

       77.     Pleading in the alternative and without waiving any other allegations, NCC was

an intended third-party beneficiary on a contract for the procurement of reinsurance coverage

between WESTERN and REGIONS.

       78.     SCOTT breached the contracts for which SMITHWAY, WESTERN, and NCC

were intended third-party beneficiaries.

       79.     REGIONS breached the contracts for which SMITHWAY, WESTERN, and NCC

were intended third-party beneficiaries.

       80.     The intended third-party beneficiaries, NCC, WESTERN, and SMITHWAY,

sustained damages and losses as a result of REGIONS' and SCOTT's breaches of contract and

are entitled to recover damages for the same.

       WHEREFORE, plaintiffs SMITHWAY MOTOR XPRESS, INC., WESTERN

EXPRESS, INC., and NATIONAL CASUALTY COMPANY hereby pray and request that this

Honorable Court enter Final Judgment against Defendants JAMES A. SCOTT & SON, INC.,

individually, and d/b/a SCOTT TRANSPORTATION SERVICES and d/b/a SCOTT




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1'RANSPORTAT'ION and ci/b/a SCOTT INSURANCE, and REGIONS INSURANCE, INC.,

individually, and d/b/a INSURISK EXCESS AND SURPLUS LINES, and in favor of plaintiffs,

as follows:

        a.     Finding that a contract existed and was breached by defendants;

       b.      Finding that the plaintiffs, if not direct parties to the contract, are intended third-
               party beneficiaries to the same;

        c.     Finding that plaintiffs have been damaged by defendants' breach and awarding
               damages in excess of one million dollars ($1,000,000.00) to plaintiffs; and

        d,     Granting such further and additional relief as this Court deems just tinder the
               circumstances, including, but not limited to, any other damages recoverable by
               law.

                       COUNT III — BREACH OF FIDUCIARY DUTY
                                 (SCOTT AND REGIONS)

        81.    SMITHWAY, WESTERN, and NCC incorporate the allegations of Paragraphs I -

80 as the allegations for Paragraph 81 of Count III as though fully restated and set forth herein.

        82.    At all relevant times, SMITHWAY, WESTERN, and NCC justifiably placed

trust, reliance, and confidence in SCOTT and REGIONS and their employees, agents, and/or

servants.

        83.    At all relevant times, SMITHWAY established a fiduciary relationship with

SCOTT, its employees, agents, and/or servants.

        84.    At all relevant times, SCOTT, by and through its employees, agents, and/or

servants, owed a fiduciary duty to SMITHWAY.

        85.    At all relevant times, SCOTT, by and through its agents, employees, and/or

servants, failed to act with reasonable care and diligence in the interests of SMITHWAY and

breached its fiduciary duty to SMITHWAY by, among other things, failing to ensure that the

proper insurance policies were procured for SMITHWAY.




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       86.     SMITHWAY has been damaged by SCOTT's breach of fiduciary duty and is

entitled to recover damages for the same.

       87.     At all relevant times, SMITHWAY established a fiduciary relationship with

REGIONS, its employees, agents, and/or servants.

       88.     At all relevant times, REGIONS, by and through its employees, agents, and/or

servants, owed a fiduciary duty to SMITHWAY.

       89.     At all relevant times, REGIONS, by and through its agents, employees, and/or

servants, failed to act with reasonable care and diligence in the interests of SMITHWAY and

breached its fiduciary duty to SMITHWAY by, among other things, failing to ensure that the

proper insurance policies were procured for SMITHWAY.

       90.     SMITHWAY has been damaged by REGIONS' breach of fiduciary duty and is

entitled to recover damages for the same.

       91.     At all relevant times, WESTERN established a fiduciary relationship with

SCOTT, its employees, agents, and/or servants.

       92.     At all relevant times, SCOTT, by and through its employees, agents, and/or

servants, owed a fiduciary duty to WESTERN.

       93.     At all relevant times, SCOTT, by and through its agents, employees, and/or

servants, failed to act with reasonable care and diligence in the interests of WESTERN and

breached its fiduciary duty to WESTERN by, among other things, failing to ensure that the

proper insurance policies were procured for WESTERN.

       94.     WESTERN has been damaged by SCOTT's breach of fiduciary duty and is

entitled to recover damages for the same.




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       95.     At all relevant times. WESTERN established a fiduciary relationship with

REGIONS, its employees, agents, and/or servants.

       96.     At all relevant times, REGIONS, by and through its employees, agents, and/or

servants, owed a fiduciary duty to WESTERN.

       97.     At all relevant times, REGIONS, by and through its agents, employees, and/or

servants, failed to act with reasonable care and diligence in the interests of WESTERN and

breached its fiduciary duty to WESTERN by, among other things, failing to ensure that the

proper insurance policies were procured for WESTERN.

       98.     WESTERN has been damaged by REGIONS' breach of fiduciary duty and is

entitled to recover damages for the same.

       99.     At all relevant times, NCC established a fiduciary relationship with SCOTT, its

employees, agents, and/or servants.

        100.   At all relevant times, SCOTT, by and through its employees, agents, and/or

servants, owed a Fiduciary duty to NCC.

        101.   At all relevant times, SCOTT, by and through its agents, employees, and/or

servants, failed to act with reasonable care and diligence in the interests of NCC and breached its

fiduciary duty to NCC by, among other things, failing to ensure that the proper insurance policies

were procured for the benefit of NCC.

        102.   NCC has been damaged by SCOTT's breach of fiduciary duty and is entitled to

recover damages for the same.

        103.   At all relevant times, NCC established a fiduciary relationship with REGIONS, its

employees, agents, and/or servants.




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        I 01.   At all relevant times. REGIONS, by and through its employees, agents, and/or

servants, owed a fiduciary duty to NCC.

        105.    At all relevant times, REGIONS, by and through its agents, employees, and/or

servants, failed to act with reasonable care and diligence in the interests of NCC and breached its

fiduciary duty to NCC by, among other things, failing to ensure that the proper insurance policies

were procured for the benefit of NCC.

        106.    NCC has been damaged by REGIONS' breach of fiduciary duty and is entitled to

recover damages for the same.

       WHEREFORE, plaintiffs SMITHWAY MOTOR XPRESS, INC., WESTERN

EXPRESS, INC., and NATIONAL CASUALTY COMPANY hereby pray and request that this

Honorable Court enter Final Judgment against Defendants JAMES A. SCOTT & SON, INC.,

individually, and d/b/a SCOTT TRANSPORTATION SERVICES and d/b/a SCOTT

TRANSPORTATION and d/b/a SCOTT INSURANCE, and REGIONS INSURANCE, INC.,

individually, and d/b/a INSURISK EXCESS AND SURPLUS LINES, and in favor of plaintiffs,

as follows:

       a.       Finding that a fiduciary relationship existed and was breached by defendants;

       b.       Finding that plaintiffs have been damaged by defendants' breach and awarding
                damages in excess of one million dollars ($1,000,000.00) to plaintiffs; and

       c.       Granting such further and additional relief as this Court deems just under the
                circumstances, including, but not limited to, any other damages recoverable by
                law.




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                        COUNT IV — PROFESSIONAL NEGLIGENCE
                                (SCOTT AND REGIONS)

          107.   SMITHWAY, WESTERN, and NCC incorporate the allegations of Paragraphs 1-

106 as the allegations for Paragraph 107 of Count IV as though fully restated and set forth

herein.

          108.   SCOTT, by and through its agents, employees, and servants, had a duty and

obligation to conform to certain standards of conduct in its profession to protect SMITHWAY

from unreasonable risks.

          109.   SCOTT, by and through its agents, employees, and servants, breached the

standard of care and its duty of care to SMITHWAY by, among other things, failing to ensure

that the proper insurance policies were procured for SMITHWAY.

          110.   SCOTT's breach of its duty to exercise reasonable care for SMITHWAY is a tort

independent from any breach of contract or breach of fiduciary duty.

          111.   SCOTT's breach has proximately caused SMITHWAY to sustain and suffer

damages, which damages SMITHWAY is entitled to recover.

          112.   REGIONS, by and through its agents, employees, and servants, had a duty and

obligation to conform to certain standards of conduct in its profession to protect SMITHWAY

from unreasonable risks.

          113.   REGIONS, by and through its agents, employees, and servants, breached the

standard of care and its duty of care to SMITHWAY by, among other things, failing to ensure

that the proper insurance policies were procured for SMITHWAY.

          114.   REGIONS' breach of its duty to exercise reasonable care for SMITHWAY is a

tort independent from any breach of contract or breach of fiduciary duty.




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        1 1 5. REGIONS' breach has proximately caused SIMIIT1-IWAY to sustain and suffer

damages, which damages SMITHWAY is entitled to recover.

        116.   SCOTT, by and through its agents, employees, and servants, had a duty and

obligation to conform to certain standards of conduct in its profession to protect WESTERN

from unreasonable risks.

       117.    SCOTT, by and through its agents, employees, and servants, breached the

standard of care and its duty of care to WESTERN by, among other things, failing to ensure that

the proper insurance policies were procured for WESTERN.

       118.    SCOTT's breach of its duty to exercise reasonable care for WESTERN is a tort

independent from any breach of contract or breach of fiduciary duty.

       119.    SCOTT's breach has proximately caused WESTERN to sustain and suffer

damages, which damages WESTERN is entitled to recover.

       120.    REGIONS, by and through its agents, employees, and servants, had a duty and

obligation to conform to certain standards of conduct in its profession to protect WESTERN

from unreasonable risks.

       121.    REGIONS, by and through its agents, employees, and servants, breached the

standard of care and its duty of care to WESTERN by, among other things, failing to ensure that

the proper insurance policies were procured for WESTERN.

       122.    REGIONS' breach of its duty to exercise reasonable care for WESTERN is a tort

independent from any breach of contract or breach of fiduciary duty.

       123.    REGIONS' breach has proximately caused WESTERN to sustain and suffer

damages, which damages WESTERN is entitled to recover.




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             124.   SCOTT. by and through its agents. employees. and servants, had a duty and

     obligation to conform to certain standards of conduct in its profession to protect NCC from

     unreasonable risks.

            125.    SCOTT, by and through its agents, employees, and servants, breached the

     standard of care and its duty of care to NCC by, among other things, failing to ensure that the

     proper insurance policies were procured for the benefit - of NCC.

             126.   SCOTT's breach of its duty to exercise reasonable care for NCC is a tort

     independent from any breach of contract or breach of fiduciary duty.

             127.   SCOTT's breach has proximately caused NCC to sustain and suffer damages,

     which damages NCC is entitled to recover,

             128.   REGIONS, by and through its agents, employees, and servants, had a duty and

     obligation to conform to certain standards of conduct in its profession to protect NCC from

     unreasonable risks,

             129.   REGIONS, by and through its agents, employees, and servants, breached the

     standard of care and its duty of care to NCC by, among other things, failing to ensure that the

     proper insurance policies were procured for the benefit of NCC.

            130.    REGIONS' breach of its duty to exercise reasonable care for NCC is a tort

     independent from any breach of contract or breach of fiduciary duty.

             131.   REGIONS' breach has proximately caused NCC to sustain and suffer damages,

     which damages NCC is entitled to recover.

            WHEREFORE. plaintiffs SMITH WAY MOTOR XPRESS, INC., WESTERN

     EXPRESS, INC., and NATIONAL CASUALTY COMPANY hereby pray and request that this

     Honorable Court enter Final Judgment against Defendants JAMES A. SCOTT & SON, INC.,




     Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 18 of 25 PageID #: 22
individually. and cl/b/a SCOTT TRANSPORTATION SERVICES and d/b/a SCOTT

TRANSPORTATION and d/b/a SCOTT INSURANCE, and REGIONS INSURANCE, INC.,

individually, and d/b/a INSURISK EXCESS AND SURPLUS LINES, and in favor of plaintiffs,

as follows:

       a.     Finding that the defendants owed a duty of care to the plaintiffs and breached that
              duty, thereby committing negligence;

       b.     Finding that plaintiffs have been damaged as a proximate result of the defendants'
              breach and negligence and awarding damages in excess of one million dollars
              ($1,000,000) to the plaintiffs; and

       c.     Granting such further and additional relief as this Court deems just under the
              circumstances, including, but not limited to, any other damages recoverable by
              law.

                                      JURY DEMAND

       PLAINTIFFS DEMAND TRIAL BY JURY.



Dated this /ay of September, 2012.



                                     Respectfully Submitted,

                                                 dw-

                                    ROLAND M. LOWELL
                                    Attorney for Plaintiffs
                                    7135 Centennial Place
                                    Nashville, TN 37209
                                    (T)615-259-9920
                                    TN BPR Number: 3874




Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 19 of 25 PageID #: 23
CIRCUIT COURT SUMMONS                                                                                        NASHVILLE, TENNESSEE

                                                      STAT 'dF TENNESSEE                                                  „4irst
                                               2012, SE f~V     N COUNTY                                                     ❑ Alias
                                                     20 H JU ? ' QfiDIST'RICT .                                              []      Plurles
                                                                            t-   r tli

 Smithway Motor Xpress Inc.                                                                           CIVIL ACTION
                                                i         - -- -. i_C
                                                                                                      DOCKET NO.                     ~C
 Western Express, Inc.
 National Casualty Company
                                                                                  Plaintiff           Method of Service:


 Vs.
                                                                                                      LI   Davidson County Sheriff

                                                                                                      ~] Out of County Sheriff
 JAMES A. SCOTT & SON, INC., individually, and d/b/a Scott                                            L] Secretary of State

 Transportation Services and d/b/a Scott Insurance; and                                               [I Certified Mail

 REGIONS INSURANCE, INC., individually, and d/b/a Insuri s k                                               Personal   Service

 Excess and Surplus Lines.                                                                            []   Commissioner of Insurance
                                                                                                                                               ~(
                                                                       Defendant                                                                    ~

To the above named Defendant:          J   r~.~-1-   A.
                                                     A. S c            S rk r
                                                                       A'
                                                                                               z. C l / o Co r 7 a rA'-~ 1 C eA J ~ c e

                            c9..              07-t o i ?e c~ A - ) t/ ~ aY4.v
                                                                cti.        -
                                                                                     c j77.f 3-42o3 — l31
You are summoned to appear and defend a civil action filed against you in the Circuit Court, I Public Square, Room 302,
P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
summons is served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
the Plaintiff's attorney at the address listed below.

In case of your failure to defend this     action by the above date,.}udgment by default will be-rendered .against you for the
relief demanded In the complaint.                                                                              '•             -
            ~ - •~                                                                                   RICHARD;R. ROOKER.
ISSUED:     "1                  ~ --                                                                       Circuit C o        er k
                                                                                                      Davidson Count , Tennessee

                                                                                         By:
                                                                                                              epu        e


  ATTORNEY FOR PLAINTIFF                    Roland M. Lowell
                     or
                                            7135 Centennial Place

       PLAINTIFF'S ADDRESS                 ',Nashville. TN 37209

TO THE SHERIFF:

       Please execute this summons and make your return hereon as provided by law.

                                                                                                      RICHARD R. ROOKER
                                                                                                            C ircuit Court Cler k


Received this summons for service this                 day of                             , 20_



                                                                                                               SHERIFF
                             To request an ADA accommodation, please contact Dart Gore at (615) 880-3309.



         Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 20 of 25 PageID #: 24
CIRCUIT COURT SUMMON                                                                               NASHVILLE, TENNESSEE

                                                 STATE OF TENNESSEE                                                      First

                                 1117 SEP I I p 4J             fI SON COUNTY                                         Alias
                                                20 JUDICIAL DISTRICT                                            0 Piuries
                                                         -'-




 Smithway Motor X ress Inc. =                                                                CIVIL ACTION            /2G,9`
                                                                                             DOCKET NO.
 Western Express, Inc, "          ~




 National Casualty Company
                                                                        Plaintiff            Method of Service:


  Vs.
                                                                                            LI   Davidson County Sheriff

                                                                                                 Out of County Sheriff

 JAMES A. SCOTT& SON, INC., individually, and'dlbla Scott                                    Li Secretary of State

 Transportation Services and d/b/a Scott Insurance; and                                     a Certified Mail

  REGIONS INSURANCE, INC., individually, and d/b/a Insurisk                                       Personal Service
                                                                                                                                 P2.
 Excess and Surplus Lines.                                                                  [l    Commissioner of Insurance
                                                                    Defendant

To the above named Defendant:                     ~             t   '
                                                                                                                     –
                                                                                            '-rN
You are summoned to appear and defend a civil action filed against you in the Circuit Court, I Public Square, Room 302,
PO. laox 196303 ; Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
summons is served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
the Plaintiff's attorney at the address listed below.                                               •_

to case of your failure to defend this action by the above date, judgment by default will be rendered against you for the .
relief demanded in•the complaint,
                             •                                                          -   RICHARD R. "ROOKER
ISSUED:                                                                                     — Ci rcuitCou 1 erk-
                                                                                                vidson County, ' ennessee

                                                                             By: a
                                                                                                     epu y er


  ATTORNEY FOR PLAINTIFF Roland M. Lowell
                  or
                                      1 7135 Centennial Place
        PLAINTIFF'S ADDRESS           I Nashville, TN 37209

TO THE SHERIFF:

        Please execute this summons and make your return hereon as provided by law.

                                                                                             RICHARD R. ROOKER
                                                                                                   C ircuit
                                                                                                   CiriiLCoUffCterk


Received this summons for service this             day of                      , 20_



                                                                                                      SHERIFF
                             To request an ADA accommodation, please contact Dart Gore at (615) 880-3309.


            Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 21 of 25 PageID #: 25
    CIRCUIT COURT SUMMONS                                                                                         NASHVILLE, TENNESSEE

                                                       STATeld TENNESSEE -                                                   ..         first
                                                 2U12 S ACOUNTY                                                                   ❑ Alias

                                                        ~ "DISTRICT                                                               ❑ Pluries

                                                                                  ,i
     Smithway_MotorXpress, Inc.               M ~,{ ~      rj 1,                                        CIVIL ACTION
                                                                                                        DOCKET NO.
     Western Express, Inc.
     National Casualty Company
                                                                                 Plaintiff              Method of Service:

                                                                                                        ❑ Davidson. County Sheriff
     Vs.
                                                                                                        ❑ Out of County Sheriff

     JAMES A. SCOTT & SON, INC., individually, and d/b/a Scott                                          ❑ Secretary of State

     Transportation Services and d/b/a Scott insurance; and                                             ❑ Certified Mail

     REGIONS INSURANCE, INC., individually, and d/b/a Insurisk                                                 Personal service

     Excess and Surplus Lines,                                                                          ❑      Commissioner of Insurance
                                                                                                                                                         t
                                                                               Defendant
                                                                          lY S rv. ~..m •
                                                                                                          /                                      ~ •-J'tt-e
                                             av,.~•~ C   1t . S4                                       C / o        ~ -o ~.~ a rA~
    To the above named Defendant:
                                                 07 `1 o     '1     'r.- - -           (\          L          7          3`4?03          —      131
                                    Co.                                                                1
    You are summoned to appear and defnd.a civil action filed against you in the Circuit Court, 1 Public Square, Room.302,
    P.O. Box 196303, Nashville, TN 37219=6303,. and your defense must be made within thirty (30) days from the date this
    summons Is served upon you. You are further directed to file your defense With the Clerk-of the Court and send a copy to
    the Plaintiffs attorney at the address listed below.

    In case of your failure to defend this action by the above date, judgment by default will be rendered against you for the
    relief demanded in the complaint.                                                                 I •    -        ..
                                                                                                       RICHARD'R. ROOKER.
    ISSUED:     C.   \   \kj                                                                                 Ci rcuit o
                                                                                                        Davidson Count
                                                                                                                             Cle rtc
                                                                                                                             Tennessee


                                                                                       By:
                                                                                                                   epu      er


      ATTORNEY FOR PLAINTIFF              I Roland M. Lowell
1                        or
                                             71.35 Centennial Place

           PLAINTIFF'S ADDRESS            I Nashville, TN 37209

    TO THE SHERIFF:

           Please execute this summons and make your return hereon as provided by law.

                                                                                                        RICHARD R. ROOKER
                                                                                                                  Circuit Court Clerk



    Received this summons for service this                 day of                           , 20



                                                                                                                    SHERIFF

                                 To request an ADR accommodation, please contact Dart Gore at (6151 880-3309.




             Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 22 of 25 PageID #: 26
C'yr r

                                             RETURN ON PERSONAL SERVICE OF SUMMONS

   I hereby certify and return that on the           ~                     da of
                                                                           day 1                                                              20             I:


                          served this summons and complaint/petition on                                       ; Se e                                    ~
                                                                                                                                    /
                                                                                                                                in the following manner:



                          failed to serve this summons within 90 days after its iss(take because




                                                                                                         er      cesr
                                                                                                                    er                              Th
                                                    RETURN ON SERVICE OF SUMMONS BY MAIL

   I hereby certify and return, that,on the                          day of                                     20            I sent, postage prepaid by

   registered return receipt mail or certified return receiptmail, a certified copy of the summons and a copy of the complaint in Docket No.
                                    to the defendant,                                                                On the                         day of

                                                              , I received the return receipt for said registered or certified mail, which had been signed
                                               20
   by                                            on the                   day of                                                 , 20              Said return

   receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.



   SWORN TO AND SUBSCRIBED BEFORE ME ON THIS
                 DAY OF                                            20                                  PLAINTIFF,.PLAINTIFF'S ATTORNEY OR OTHER PERSON
                                                                                                     AUTHORIZED BY STATUTE TO SERVE PROCESS



                NOTARY PUBLIC or                           DEPUTY CLERK
   MY COMMISSION EXPIRES:


                                         NOTICE
   TO THE DEFENDANT(S):
              Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
   personal property exemption from execution or seizure to satisfy a judgment. If a judgment                                    ATTACH
   should be entered against you in this action and you wish to claim property as exempt, you
   must file a written fist, under oath, of the items you wish to claim as exempt with the clerk of                              RETURN
   the court. The-list-may be filed at anytime and may be changed by you thereafter as'neeessary;
   however, unless it is filed before the judgment becomes final, it will not be effective as to any                             RECEIPT
   execution or garnishment issued prior to the filing of the.list Certain items are automatically
   exempt by law and do not need to be listed; these include items of necessary wearing apparel                                   HERE
   (clothing) for yourself and your family - and trunks or other receptacles - necessary to contain such
   apparel, family portraits, the family Bible, and school books. Should any of these items be seized,                    (IF APPLICABLE)
   you would have the right to recover them, If you do not understand your exemption rightor, how
   to exercise it, you may wish to:seek the counsel of a lawyer.

   STATE OF TENNESSEE                                     I, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
   COUNTY OF DAVIDSON                                     do hereby certify this to be a true and correct copy of the original summons issued
                                                          in this case.
                                                                                       RICHARD R. ROOKER, CLERK
   (To be completed only if
   copy certification required.)
                                                                                         By:                                                          D.C.


             Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 23 of 25 PageID #: 27
CIRCUIT COURT SUMMONS                                                                               NASHVILLE, TENNESSEE

                                                        STATE OF TENNESSEE                                            First
                                                        p            Ø 1bSON COUNTY                                   Alias
                                2c1{Z S P1 20TH JUDICIAL DISTRICT                                                []   Pluries
                                                   EZut)!`~i~_it, ~ irL!;n
                                F;1(~;t'AtZt3 R.
 Srnithway Motor Xpress , Inc.                                                               CIVIL ACTION
                                                                                             DOCKET NO.
 Western Express t Inc.
 National Casua l ty Company
                                                                               Plaintiff     Method of Service:

                                                                                                  Davidson County Sheriff
  Vs.
                                                                                             Li   Out of County Sheriff

 JAMES A. SCOTT & SON, INC., individually, and d/b/a Scott                                   Li Secretary of State

 Transportation Services and d/b/a Scott Insurance; and                                      C] Certiried,Mall

  REGIONS INSURANCE, INC., individually, and d/bla Insurisk                                  t^I Personal Service
                                                                                                                                P2
 Excess and Surplus Lines.                                                                   []   Commissioner of Insurance
                                                                             Defendant
                                                                                                                                 g
To the above    named Defendant,                                                                                                C.
                                           ~   to8                                                    -3         n 3— 13 1 A
You are summoned to appear and defend a civil action filed against you in the Circuit Court , I Public Square, Room 302,
P.O. Box 196303 , Nashville, TN 37219-6303 , and your defense must be made within thirty (30 ) days from the date this
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the Plaintiff ' s attorney at the address listed below.

In case of your failure to defend this action by the above date, judgment by default will be rendered against you.for the
relief demanded In the complaint.
                                                                                             RICHARD R . ROOKER
ISSUED:            iti           ~                                                           ~ ucu        l erk
                                                                                                            n
                         ~~                                                                     vidson County, e nessee



                                                                                                      epu y Clerk



   ATTORNEY FOR PLAINTIFF Ro                           M. Lowell
                   or
                                         7135 Centennial Place

        PLAINTIFF 'S ADDRESS           I Nashville, TN 37209

TO THE SHERIFF:

        Please execute this summons and make your return hereon as provided by law,

                                                                                             RICHARD R . ROOKER
                                                                                                    C ircuWCourt Cle rk


Received this summons for service this                      day of                    , 20


                                                                                                      SHERIFF
                              To request an ADA accommodation, please contact Dart Gore at (615) 880-3309-




          Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 24 of 25 PageID #: 28
                                                                                                                                                          I


                                          RETURN ON PERSONAL SERVICE OF SUMMONS

I hereby certify and return that on the                 /                 day of                                                          20, I:

                       served this summons and complaint/petition on                      LL< T ç
     ØTh d\             _        e   ~ ~ h~      z . t^                                     L.        4                     in the following manner:



                       failed to serve this summons within 90 days after its(sjuance because




                                                                                               Srver

                                                 RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return, that on the                             day of                               , 20            I sent, postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in Docket No.

                                 to the defendant,                                                               On the                       day of

                                                            I received the return receipt for said registered or certified mail, which had been signed
                                            20
by                                           on the                      day of                                               20            Said return

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.



SWORN TO AND SUBSCRIBED BEFORE ME ON THIS
              DAY OF                                            ,   20                         PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON

                                                                                               AUTHORIZED BY STATUTE TO SERVE PROCESS



             NOTARY PUBLIC or                          DEPUTY CLERK
MY COMMISSION EXPIRES:


                                      NOTICE
TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
personal property exemption from execution or seizure to satisfy a judgment. If a judgment                                  ATTACH
should be entered against you in this action and you wish to claim property as exempt, you
must file a written list, under oath, of the items you wish to claim as exempt with the clerk of                            RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary;
however, unless It is filed before the judgment becomes final, it will not be effective as to any                            RECEIPT
execution or garnishment issued prior to the filing of the list. Certain items are automatically
exempt by law and do not need to be listed; these include items of necessary wearing apparel                                  HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portraits, the family Bible, and school books. Should any of these items be seized,                  (IF APPLICABLE)
you would have the right to recover them. If you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel of a lawyer.


STATE OF TENNESSEE                                    I, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVIDSON                                    do hereby certify this to be a true and correct copy of the original summons issued
                                                      in this case.
                                                                                    RICHARD R. ROOKER, CLERK
(To be completed only if
copy certification required.)
                                                                                    By:                                                         D.C.


          Case 3:12-cv-01063 Document 1-1 Filed 10/17/12 Page 25 of 25 PageID #: 29
